Case 2:11-cv-11205-SFC-RSW ECF No. 27-4, PageID.353 Filed 11/10/11 Page 1 of 18




                                   EXHIBITC
Case 2:11-cv-11205-SFC-RSW ECF No. 27-4, PageID.354 Filed 11/10/11 Page 2 of 18




                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERc"l DIVISIOK



 STEVE CONLEY, NANCY CONLEY,
 Individually and NANCY CONLEY
 as NEXT FRIEND OF J. C, a Minor

 Plaintiffs                                         Case No, 2:1 I-cv-I 1205
                                                    Hon. Sean F. Cox
 v,                                                 Magistrate Judge R. Steven Whalen

 ML T, INC., a Minnesota corporation,
 DIAMOND HOTELS COZUMEL SA
 de c.v., a foreign corporation, HOLIDAY
 VILLAGE WHITE SANDS SA, a foreign
 corporation, OCCIDENTAL HOTELS
 MANAGEMENT BY, a foreign corporation,
 OCCIDENTAL HOTELES MANAGEMENT,
 S.L., a foreign corporation, and ALLEGRO
 RESORTS MARKETING CORPORATION,
 a Florida corporation

               Defendants,

 LAW OFFICES OF BENNER & FORAN               EBONY L. DUFF (P65431)
 BRIAN 1. BENNER (P25239)                    Attorney for Defendant MLT, Inc
 NANCY SA VAGEAU (P56546)                    1000 Woodbridge Street
 DAVID A PRlEHS (P39606)                      Detroit, MI 48207
 Attorneys for Plaintiffs                    313-446-5543i313-259-0450(fax)
 28116 Orchard Lake Road
 Fannington Hills, MI48334                   WILLIAM J. CREMER
 248-737-5544/248-737-5545(fax)              JOSHUA D. YEAGER
                                             CREMER, SPINA, SHAUGHNESSY,
 ANTHONY J. CALATI (P34994)                  JAKESEN & SIEGERT, LLC
 Attorney for Allegro Resorts Marketing      Counsel for Defendant Occidental Hotels
 333 W, Fort Street, Suite 1600              180 North LaSalle Street Suite 3300
 Detroit, MI 48226                           Chicago, IL 60601
 313-965-6100/313-731-0410(fax)              312-726-3800
Case 2:11-cv-11205-SFC-RSW ECF No. 27-4, PageID.355 Filed 11/10/11 Page 3 of 18




   NOTICE OF TAKING DEPOSITION DUCES TECUM OF THE OCCIDENTAL
    HOTELS MANAGEMENT B.V. EMPLOYEE MOST KNOWLEDGEABLE
  REGARDING PAST AND PRESENT CONTRACTUAL AND OTHER BUSINESS
 RELATIONSHIPS BETWEEN OCCIDENTAL HOTELS MANAGEMENT B.V. AND
CO-DEFENDANTS MLT, INC" ALLEGRO RESORTS MARKETING CORPORATION,
    OCCIDENTAL HOTELES MANAGEMENT S.L. AND DIAMOND HOTELS
                       COZUMEL S.A. DE C.V.


       PLEASE TAKE NOTICE that pursuant to FRCP 30 (b)( 6) the Deposition of The Person

Most Knowledgeable Regarding Past and Present Contractual and Other Business Relationships

Between OCCIDENTAL HOTELS MANAGEMENT B.V. and co-defendants MLT, Inc., Allegro

Resorts Marketing Corporation, Occidental Hoteles Management S.L.          and Diamond Hotels

Cozumel S.A. de C.V. will be taken according to FRCP 30(b )(6) at a date and location to be

determined at a later time. This deposition duces tecum will be used for all purposes allowable

pursuant to the Federal Rules of Civil Procedure.

       The witnesses shall produce at their depositions for inspection and copying:

       I.      All documents and other records, including those stored on electronic medium,
               which embody, describe and/or refer to past and/or present contracts and/or other
               agreements which have existed between OCCIDENTAL HOTELS MANAGEMENT
               B.V. and any of the co-defendants.

       2.     All documents and other records, including e-mails, text messages and other
              electronic records, which embody, describe and/or refer to communications between
              OCCIDENTAL HOTELS MANAGEMENT B.V. ML T, Inc. which relate in any way
              to the injury of J.e. and/or the claims arising from that injury.

                                     LAW OFFICES OF BENNER & FORAN


                                            Bv:lslDavid A. Priehs (P396061
                                            BRIAN J. BENNER (P25239)
                                            DAVID A. PRIEHS (P39606)
                                            Attorneys for Plaintiffs
                                            28116 Orchard Lake Road
                                            Farmington Hills, MI 48334
                                            248-737-5544
Dated: November 10,2011
Case 2:11-cv-11205-SFC-RSW ECF No. 27-4, PageID.356 Filed 11/10/11 Page 4 of 18




                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION



STEVE CONLEY, NANCY CONLEY,
Individually and NANCY CONLEY
as NEXT FRIEND OF J. c., a Minor

Plaintiffs                                         Case No.2: II-cv-11205
                                                   Hon. Sean F. Cox
v.                                                 Magistrate Judge R. Steven Whalen

MLT, INC., a Minnesota corporation,
DIAMOND HOTELS COZUMEL SA
de C.V., a foreign corporation, HOLIDAY
VILLAGE WHITE SANDS SA, a foreign
corporation, OCCIDENTAL HOTELS
MANAGEMENT RV., a foreign corporation,
OCCIDENTAL HOTELES MANAGEMENT,
S.L., a foreign corporation, and ALLEGRO
RESORTS MARKETING CORPORATION,
a Florida corporation

              Defendants,

LAW OFFICES OF BEl\'NER & FORAN             EBONY L. DUFF (P65431)
BRIAN J. BENNER (P25239)                    Attorney for Defendant MLT, Ine
NANCY SAVAGEAU (P56546)                     1000 Woodbridge Street
DAVID A PRIEHS (P39606)                     Detroit, MI 48207
Attorneys for Plaintiffs                    313-446-5543/313-259-0450(fax)
28116 Orchard Lake Road
Farmington Hills, MI 48334                  WILLIAM J. CREMER
248-737-5544/248-737-5545( fax)             JOSHUA D. YEAGER
                                            CREMER, SPINA, SHAUGHNESSY,
ANTHONY J. CALATI (P34994)                  JANESEN & SIEGERT, LLC
Attorney for Allegro Resorts Marketing      Counsel for Defendant Occidental Hotels
333 W. Fort Street, Suite 1600              180 North LaSalle Street Suite 3300
Detroit, MI 48226                           Chicago, IL 60601
3 13-965-6100/3 13-731-0410(fax)            312-726-3800
Case 2:11-cv-11205-SFC-RSW ECF No. 27-4, PageID.357 Filed 11/10/11 Page 5 of 18




        PLAIlWIFF'S REOUEST FOR PRODUCTION OF DOCI:MENTS
  REGARDING PLAINTIFFS INTERROGATORIES TO DEF'ENDANT OCCIDENTAL
         HOTELS MANAGEMENT B,V" A FOREIGN CORPORATION


 TO:    COUNSEL OF RECORD

       NOW COME the plaintiffs by and through their attorneys, Benner and Foran, and request

that the defendant, Occidental Hotels Management B. V., a foreign corporation according to the

provisions of FRCP 33(b)(2) produce for inspection and copying the following infonuation and

documentation to the Law Offices of Bennner and Foran, 28116 Orchard Lake Road, Fanuington

Hills, MI 48334, within thirty (30) days of service of this request upon you.

                                          DEFINITIONS

        1.     The tenns"documents" when used in this Request for Production shall mean, without

limitation, every writing ofrecord ofevery type and description that is or has been in the possession,

control or custody of Occidental Hotels Management B.V., a foreign corporation or of which

Occidental Hotels Management B.V., a foreign corporation has knowledge, including, without

limitations, files, correspondence, records, evaluations, memoranda, communications, pamphlets,

publications, voice recoding and statistical compilations; every copy ofsuch writing or record where

the original is not in possession, custody or control of defendant, Occidental Hotels Management

B.V., a foreign corporation and every copy of such writing or record where such copy is not an

identical copy of the original.

       2.      The tenu "defendant" when used in this request for production shall refer to

Occidental Hotels Management B. V., a foreign corporation. And also include all agents, employees,

associates and other representatives of and experts and/or consultants hired or retained on behalf of

Occidental Hotels Management B.V., a foreign corporation.
Case 2:11-cv-11205-SFC-RSW ECF No. 27-4, PageID.358 Filed 11/10/11 Page 6 of 18




       3.      For each document produced, identify the request for production of documents in

response to which it is produced and the answer to interrogatory in which it is identified.

                                 DOCUMENTSREQ~ESTED


       I.      Any and all documents identified in response to Plaintiff's Interrogatories Directed

               to defendant, Occidental Hotels Management B.Y., a foreign corporation. For each

               document produced, identify the interrogatory and interrogatory subsection to which

               is corresponds.



                                              By lsi David A. Priehs (P39606)
                                              LAW OFFICES OF BENNER & FORAN
                                              BRIAN J. BENl'.nR (P25239)
                                              DA YID A PRIEHS (P39606)
                                              Attorneys for Plaintiff
                                              28116 Orchard Lake Road
                                              Fannington Hills, MI48334-3737
                                              248-737-5544/Fax 248-737-5544
Dated: November 10,2011                       dap@dpriehspc.com
Case 2:11-cv-11205-SFC-RSW ECF No. 27-4, PageID.359 Filed 11/10/11 Page 7 of 18




                            U)/ITED STATES DlSTRlCT COURT
                            EASTERN DISTRICT OF .MICHIGAN
                                  SOUTHERN DIVISION



STEVE CONLEY, NANCY CONLEY,
Individually and NANCY CONLEY
as )/EXT FRIEND OF J. C., a .Minor

Plaintiffs                                          Case No. 2:1 l-cv-l 1205
                                                    Hon. Sean F. Cox
v.                                                  .Magistrate Judge R. Steven Whalen

MLT, INC., a .Minnesota eorporation,
DIAMOND HOTELS COZUMEL S.A.
de C.V., a foreign corporation, HOLIDAY
VILLAGE WHITE SANDS S.A., a foreign
corporation, OCCIDENTAL HOTELS
MANAGEMENT B.V., a foreign corporation,
OCCIDENTAL HOTELES MANAGEMENT,
S.L., a foreign corporation, and ALLEGRO
RESORTS MARKETING CORPORATION,
a Florida corporation

              Defendants,

LA W OFFICES OF BENNER & FORAN               EBONY L. DUFF (P65431)
BRIAN J. BENNER (P25239)                     Attorney for Defendant MLT, Inc
NANCY SA VAGEAU (P56546)                     1000 Woodbridge Street
DAVID A. PRlEHS (P39606)                     Delroit, MI48207
Attorneys for Plaintiffs                     313-446-5543!313-259-0450(fax)
28116 Orchard Lake Road
Fannington Hills, MI 48334                   WILLIAM J. CREMER
248-737 -5544!248-737-5545(fax)              JOSHUA D. YEAGER
                                             CREMER, SPINA, SHAUGHNESSY,
ANTHONY J. CALATI (P34994)                   JANESEN & SIEGERT, LLC
Attorney for Allegro Resorts Marketing       Counsel for Defendant Occidental Hotels
333 W. Fort Street, Suite 1600               180 North LaSalle Street Suite 3300
Detroit, MI 48226                            Chicago, IL 60601
313-965-6100/313-731-0410(fax)               312-726-3800
Case 2:11-cv-11205-SFC-RSW ECF No. 27-4, PageID.360 Filed 11/10/11 Page 8 of 18




    PLAINTIFFS INTERROGATORIES TO DEFENDANT OCCIDENTAL HOTELS
              MANAGEMENT B.V.. A FOREIGN CORPORATION


       NOW COME the Plaintiffs herein, by and through their attorneys, Benner and Foran, and

submits the tullowing Interrogatories to each of the above Defendant.

       PLEASE TAKE NOTICE that the following Interrogatories are directed to each of the

above-captioned Defendants, under the provisions ofFRCP 33 and the various subdivisions thereof,

and each Defendant is separately required to answer said Interrogatories and to furnish such

information as is availahle to you. The information available to you shall include all information

discoverable within the possession or knowledge ofyour agents, employees, attorneys, investigators

or the agents of same, and who are competent to testify as to the facts stated.

       You are required to file Answers to the Interrogatories under oath and the answers shall be

signed by you according to the provisions ofFRCP 33(b)(2). Also, you are required to answer the

Interrogatories under oath within thirty (30) days after service of them upon you.

       Each of the Interrogatories shall be deemed to he continuing in nature so as to require that

supplemental answers be filed ifinformation is obtained in addition to, or if different from, that set

forth in the original answers hereto, according to provisions ofFRCP 26(e)

                                          DEFINITIONS

       For the purposes ofthese Interrogatories, the following definitions shall apply:

       A.      The term "documents" shall mean, without limitation, every writing or record of

every type and description that is or has been in the possession, control or custody ofeach Defendant

or of which it has knowledge, including, without limitations, files, correspondence, records, notes,

evaluations, memoranda, communications, pamphlets, publications, voice recordings, computer



                                                  2
Case 2:11-cv-11205-SFC-RSW ECF No. 27-4, PageID.361 Filed 11/10/11 Page 9 of 18




tiles, discs, cd-rom, and statistical complications; every copy of such writing or record where the

original is not in the possession, custody or control of each Defendant and every copy of such

writing or record where such copy is not an identical copy of the original.

       B.      The term "Defendant" when used iu these Interrogatories shall refer to Oce idental

Hotels Management B.V. Defendant named in the Complaint and also includes all agents,

employees, associates and other representatives of and experts and/or consultants hired by or

retained on behalf of eaeh Defendant. The term "Defendants" shall refer to all Defendants named

in the Complaint.


                                     INTERROGATORIES


Defendallt's Direct Business COlltacts with the State of~\fichigan

I.     For each of the calendar years 1990 through 2010, inclusive, state:

       a.      The number of customers who booked rooms in the defendant's resorts located in
               Mexico, Costa Rica, Aruba and the Dominican Republic.
       b.      The number of customers who booked rooms in the defcndant's resorts located in
               Mexico, Costa Rica, Aruba and the Dominican Republic who made their pnrchase
               in the United States.
       c.      The number of customers who booked rooms in the defendant's resorts located in
               Mexico, Costa Rica, Aruba and the Dominican Republic who resided in the State of
               Michigan and/or made their purchase from the State of Michigan.
       d.      The defendant's total revenues from defendant's resorts located in Mexico, Costa
               Rica, Aruba and the Dominican Republic.
ANSWER:




2.     Identify and describe all advertisingimarketing activities directed to residents of the State



                                                 3
Case 2:11-cv-11205-SFC-RSW ECF No. 27-4, PageID.362 Filed 11/10/11 Page 10 of 18




 of Michigan by or on behalf of Occidental Hotels Management B.Y, andlor Occidental Hotels

 Management S.L andlor Allegro Resorts Marketing Corporation during the period from Jan. I, 1990

 through the present For each such activity state:

        a,      The nature of the activity, i,e. mailings, television/radio, telephone solicitation,
                newspaper, magazine or other periodical, etc.
        b.      The media outlet involved and the volume;
        c.      The periods during which the activities took place;
        d,      The content.

 ANSWER:




 3,     Identify all contracts entered into hy or on behalf of Occidental Hotels Management B.Y,

 with persons andlor other entities residing andlor operating in the State of Michigan. For each state:

        a.      The parties to the contract and date of execution;
        b,      The subject and terms of the contract;
        c,      The identity ofthe person presently having possession (name, address, employer and
                title)

 ANSWER:




 4.     Identify all contracts entered into by or on behalf of Occidental Hoteles Management S.L.

 with persons andlorother entities residing andlor operating in the State ofMichigan. For each stale:

        a,      The parties to the contract and date of execution;
        b,      The subject and terms of the contract;
        c.      The identity ofthe person presently having possession (name, address, employer and
                title)

 ANSWER:




                                                   4
Case 2:11-cv-11205-SFC-RSW ECF No. 27-4, PageID.363 Filed 11/10/11 Page 11 of 18




 5.     Identify all contracts entered into by or on behalf ofAllegro Resorts Marketing Corporation

 with persons and/or other entities residing andlor operating in the State ofMichigan. For each state:

        a,      The parties to the contract and date of execution;
        b.      The subject and terms of the contract;
        c,      The identity ofthe person presently having possession (name, address, employer and
                title)
 ANSWER:




 6.     Identify all meetings conducted/attended by employees/representatives of the detendant

 within the State of Michigan. For each state:

        a.      The date and purpose of the meeting;
        b.      Identify the attendees;


 ANSWER:




 7.     Identify all leasing/rental agreements for real property located in the State of Michigan

 entered into by or on behalf of the defendant


 ANSWER:




 8.     Has the defendant ever been registered or authorized to do business in Michigan and/or

 maintained a resident agent in the State of Michigan? If so, state:

        a.      The nature of the registration/authorization;


                                                  5
Case 2:11-cv-11205-SFC-RSW ECF No. 27-4, PageID.364 Filed 11/10/11 Page 12 of 18



        b.      The periods of such registrationiauthorization.

 ANSWER:




 9.     Has the defendant, either directly or through agents, ever offered goods for sale or services

 for use in Michigan. If so, state:

        a.      Describe the goods and/or services ofTered;
        b.      The periods during which such offers were made.


 ANSWER:




 10.    Identify the number of travel agents located in the State ofMichigan to whom the defendant

 has ever paid a commission or other fee. Also state:

        a.      Identify the contracts or other agreements under the terms of which the
                commissions/fees were paid.
        b.      The total amount of commissions/fees paid by or on behalf of the defendant during
                each of the calendar years from 1990 to 2010 inclusive.

 ANSWER:




 II.    Has the defendant offered to travel agents the opportunity to registerienroll for any programs

 and/or services offered by or on behalf of the defendant? If so, for each service/program state:

        a.      Describe the service/program and the periods it existed;
        b.      Describe the necessary qualifications to be eligible for the service/program and the
                means of registration/enrollment;
        c.      Describe the benefits available to registrants/enrollees;


                                                  6
Case 2:11-cv-11205-SFC-RSW ECF No. 27-4, PageID.365 Filed 11/10/11 Page 13 of 18




        d.     State the total number of registrants/enrollees and of those located in the State of
               Michigan.

ANSWER:




Relationship with Co-Defendants

12.     Identify (name address, employer and title) ofall persons who have been responsible for the

day to day operation of the Allegro Cozumel resort (the resort whidl I.C. was injured on April 11,

2009) which during the period from Jan. 1,1990 through the present.

ANSWER:




13.     Describe defendant Occidental Hotels Management B.V.'s involvement with the Allegro

Cozumel resort (the resort which J.C. was injured on April!I, 2009) during the period from Jan. I,

 1990 through the present.

ANSWER:




14.     Describe defendant Occidental Hoteles Management S.L.'s involvement with the Allegro

Cozumel resort (the resort which lC. was injured on April 11,2009) during the period from Jan.

 I, 1990 through the present.

k"'lSWER:




                                                 7
Case 2:11-cv-11205-SFC-RSW ECF No. 27-4, PageID.366 Filed 11/10/11 Page 14 of 18




 15.    Describe defendant Allegro Resorts Marketing Corp.'s involvement with the Allegro

 Cozumel resort (the resort which J.e. was injured on April 11,2009) during the period from Jan.

 I, 1990 through the present.




 16.    Identify all contracts and other agreements, including operating agreements, which have been

 entered into between defendant Occidental Hotels Management B.V. and defendant Allegro Resort

 Marketing, Corp. providing date of execution, title, signatories and person(s) presently having

 possession.

 ANSWER:



 17.    Identify all contracts and other agreements, including operating agreements, which havc

 been entered into between defendant Occidental Hotels Management B.V. and defendant Diamond

 Hotels Cozumel S.A. providing date of execution, title, signatories and person(s) presently having

 possesSIOn.

 ANSWER:




                                                 8
Case 2:11-cv-11205-SFC-RSW ECF No. 27-4, PageID.367 Filed 11/10/11 Page 15 of 18




 18.    Identify all contracts and other agreements, including operating agreements, which have been

 entered into between defendant Occidental Hotels Management B.V. and defendant Occidental

 Hoteles Management S.L., providing date of execution, title, signatories and person(s) presently

 having possession.


 ANSWER:




 19.    Identify all contracts and other agreements which have been entered into between defendant

 Occidcntal Hotels Management B.V. and defendant MLT, Inc. providing date of execution, title,

 signatories and person(s) presently having possession.

 ANSWER:




 20.    Identify all contracts and other agreements which have been entered into between defendant

 Occidental Hoteles Management S.L. and defendant Diamond Hotels Cozumel S.A. de C.V.

 providing date of execution, title, signatories and person(s) presently having possession.

 ANSWER:




                                                  9
Case 2:11-cv-11205-SFC-RSW ECF No. 27-4, PageID.368 Filed 11/10/11 Page 16 of 18




 21.    Identify all contracts and other agreements which have been entered into between defendant

 Allegro Resorts Marketing Corp. and defendant Diamond Hotels Cozumel S.A. de C.V. providing

 date of execution, title, signatories and person(s) presently having possession.

 ANSWER:




 22.    Has Occidental Hotels Management BV, its officers, shareholders or subsidiaries received

 any disbursements of revenue earned by defendant A Ilegro') If so, describe each disbursement, the

 amount and its calcnlation.

 ANSWER:




 23.    Has Occidental Hoteles Management S.L. its officers, shareholders or subsidiaries received

 any disbursements of revenue earned by defendant Allegro? Ifso, describe each disbursement, the

 amount and its calculation.

 ANSWER:




 24.    Has Occidental Hoteles Management S.L. its officers, shareholders or subsidiaries received

 any revenue earned through the operation of the Allegro Cozumel resort at which J.C. was injured

 on April 11, 20097 If so, describe each disbursement, the amount and its calculation.

 ANSWER:



                                                 10
Case 2:11-cv-11205-SFC-RSW ECF No. 27-4, PageID.369 Filed 11/10/11 Page 17 of 18




 25.    Has Occidental Hotels Management B.V., its officers, shareholders or subsidiaries received

 any revenue earned through the operation of the Allegro Cozumel resort at whieh J.e. was injured

 on April II, 2009? If so, describe each disbursement, the amount and its calculation.

 ANSWER:




 26.    Identify the sources of all operating capital for Allegro Resorts Marketing Corporation for

 the years 1990 through 2010 inclusive.

 ANSWER:




 Internet Marketillg
 27.    Identify all web sites on which Occidental Hotels properties have been advertised/marketed.

 For each state:

        a.         The domain name and the owner/registrant of the domain name;
        b.         The period of time the web site operated;
        c.         The Occidental Hotels properties advertised/marketed;
        d.         Identify the host for the web site (name, address)
        e.         Identify the number ofbookings made to Occidental resort properties in Mexico, the
                   Dominican Republic, Costa Rica and Aruba through the web site annually for the
                   period from Jan. 1, 1990 to Jan. 20 I L
        f.         Identify the number of bookings of customers located in the State ofMichigan made
                   to Occidental resort properties in Mexico, the Dominican Republic, Costa Rica and


                                                   11
Case 2:11-cv-11205-SFC-RSW ECF No. 27-4, PageID.370 Filed 11/10/11 Page 18 of 18



               Aruba through the web site annually for the period from Jan. 1, 1990 to Jan. 2011.
        g.     Provide the total value of bookings made to Occidental resort properties in Mexico,
               the Dominican Republic, Costa Rica and Aruba through the web site annually for the
               period from Jan. I, 1990 to Jan. 2011.
        h.     Provide the total value of bookings of customers located in the State of Michigan
               made to Occidental resort properties in Mexico, the Dominican Republic, Costa Rica
               and Aruba through the web site annually for the period from Jan. I, 1990 to Jan.
               2011.

        L      Whether the site was interactive to the extent that bookings could be made and
               payment recei ved;
        j.     Describe all agreements under the terms of which Occidental resorts were
               advertised/marketed on the web site.

 ANSWER:




 28.    Identify all entities which have owned or had any interest in the domain name "Oecidental

 Hotels.com". Also describe each entity's interest in the domain name and the period each interest

 was held.

 ANSWER:




                                             By lsi David A. Priehs (P39606)
                                             LAW OFFICES OF BENNER & FORAN
                                             BRIAN 1. BENNER (P25239)
                                             DAVID A PRIEHS (P39606)
                                             Attorneys for Plaintiff
                                             28116 Orchard Lake Road
                                             Farmington Hills, MI 48334-3737
                                             248-737-5544/Fax 248-737-5544
 Dated: November 10, 2011                    dap@dpriehspc.com




                                                12
